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                                           8                               IN THE UNITED STATES DISTRICT COURT
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                                                                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          10
For the Northern District of California




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                                               NUANCE COMMUNICATIONS, INC.,                             No. No. C 08-2912 JSW (MEJ)
    United States District Court




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                                                               Plaintiff(s),
                                          13                                                            ORDER RE: PLAINTIFF'S REQUEST
                                                 vs.                                                    TO COMPEL RESPONSES
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                                               ABBYY SOFTWARE HOUSE, et al.,
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                                                               Defendant(s).
                                                                                              /
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                                          17           The Court is in receipt of the parties' joint letter, filed March 31, 2009, regarding Plaintiff
                                          18   Nuance Communications, Inc.'s request for the Court to enforce its order that required Defendant
                                          19   Abbyy USA to provide the name and address of the registered agent for each non-U.S. Abbyy entity.
                                          20   (Dkt. #82.) Although Defendant contends that its response complied with the Court's order, Plaintiff
                                          21   argues that the response is still deficient.
                                          22           After considering both arguments, the Court hereby ORDERS Defendant to submit a verified
                                          23   declaration by April 3, 2009. Specifically, the declaration shall state the following: (1) it completed
                                          24   a diligent search in response to Plaintiff's request; (2) it knows of no other non-U.S. Abbyy entities
                                          25   except for those identified in Defendant's Supplemental Response to Interrogatory No. 6; (3) it
                                          26   knows of no registered agent for service process (or the equivalent thereof) for any non-U.S. Abby
                                          27   entities; and (4) it is unaware of the name and address of the person authorized to receive service of
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                                                  Case 3:08-cv-02912-JSW Document 83 Filed 04/02/09 Page 2 of 2



                                           1   process pursuant to Federal Rule of Civil Procedure 4(h)(1)(B). Defendant shall be bound by their
                                           2   response unless new or additional facts are obtained through subsequent investigation and Defendant
                                           3   supplements its responses.
                                           4          IT IS SO ORDERED.
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                                           6   Dated: April 2, 2009
                                                                                                      MARIA-ELENA JAMES
                                           7                                                          United States Magistrate Judge
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For the Northern District of California




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    United States District Court




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